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                                                                                                                   Last updated: September 24, 2021


                                                   PORTLAND FEDERAL COURTHOUSE PROTEST CASES
         Protestors gathered beginning on May 26, 2020, in various public areas in Portland to protest including the Lownsdale Square, Chapman
Square and Terry Schrunk Plaza. The Portland Justice Center, which houses Portland Police Bureau’s Central Precinct and the Multnomah
County Detention Center borders these parks, as does the Mark O. Hatfield United States Federal Courthouse (hereinafter “Courthouse”). The
entire city block occupied by the Courthouse is owned by the USA. The Courthouse was a target of violent protestors and experienced significant
damage to the façade, glass and building fixtures in the weeks following the initial protests. Some 74 people were charged by the U.S. Attorney’s
Office for the District of Oregon.

                                                     Arrested
          Defendant                  Charges                     Case Number         Disposition                    Description
                                                     on Scene?

                                                                   Completed Cases

       Evan Kriechbaum          18:111(a)(1) -         Yes       3:20-mj-00178       Dismissed     Picked up a recently launched tear gas
                                 Assaulting a                                         without      canister. Officers moved to detain him
                                Federal Officer                                      prejudice     (affidavit says there was no intent to arrest
                                                                                                   him) for officer safety. No indication that
                                                                                                   Kriechbaum tried to throw the canister, but
                                                                                                   he resisted the officers and tried to escape by
                                                                                                   swinging his arms and wriggling. Swung his
                                                                                                   elbow back and hit an officer in the face.

                                                                                                   Kriechbaum stated that he didn’t realize they
                                                                                                   were police at the time and that he complied
                                                                                                   once he realized they were police. The
                                                                                                   officers were wearing protective gear marked
                                                                                                   “POLICE”, but it was the early morning
                                                                                                   hours.

      Gretchen Margaret         18:111(a)(1) 1 -       Yes       3:20-cr-00224   Dismissed with    Blank pushed an officer in the back with a
            Blank                Assaulting a                                       prejudice      “flimsy” plastic shield when he was
                                Federal Officer                                      (DRA 2)       attempting to arrest another protestor. The

1
    Felony
2
    Deferred resolution agreement.
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                                                      Arrested
          Defendant                  Charges                         Case Number            Disposition                         Description
                                                      on Scene?

                                                                                                               officer “los[t] his balance.” The shield was
                                                                                                               recovered (pictures in the affidavit).

         Brodie Storey           18:111(a)(1) -          Yes         3:20-cr -00330       Dismissed with       Officers declared an unlawful assembly and
                                  Assaulting a                                           prejudice (DRA)       tried to disperse a line of protestors. The
                                 Federal Officer                                                               affiant alleges that Storey attempted to tackle
                                                                                                               a deputy U.S. Marshal. The Marshal then
                                                                                                               tried to arrest Storey, who violently resisted
                                                                                                               until he was tased.

          Caleb Wills            18:111(a)(1) -          Yes          3:20-cr-00296       Dismissed with       The alleged victim, a Deputy United States
                                  Assaulting a                                           prejudice (DRA)       Marshal was assisting another officer with an
                                 Federal Officer                                                               arrest when he was allegedly attacked by
                                                                                                               three individuals, including Wills. The
                                                                                                               assailants grabbed and punched the victim
                                                                                                               and attempted to take off his mask. Two of
                                                                                                               the assailants escaped, but Wills was
                                                                                                               arrested.

                                                                                                               Wills has a criminal history (absence without
                                                                                                               leave from the TN National Guard, probation
                                                                                                               violation, drug manufacture, delivery and
                                                                                                               sale, possession of drug paraphernalia and
                                                                                                               failure to appear) and has active warrants for
                                                                                                               burglary and felony breaking and entering.

      Christopher Fellini 3      18:111(a)(1) -          Yes          3:20-cr-00212          Dismissed         Fellini allegedly shined a green laser at
                                  Assaulting a                                                without          officers. Fellini was tackled and arrested and
                                 Federal Officer                                             prejudice         an officer was hurt in the process (he fell
                                                                                                               when trying to grab Fellini). Fellini was


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    https://www.justice.gov/usao-or/pr/seven-arrested-facing-federal-charges-after-weekend-riots-hatfield-federal-courthouse

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                                          Arrested
     Defendant             Charges                    Case Number       Disposition                      Description
                                          on Scene?

                                                                                        carrying Mace-brand “Pepper Gel” and a
                                                                                        small knife.

   David Michael        18:111(a)(1) -      Yes       3:20-mj-00165     Dismissed       Bouchard was told to leave an area. A CBP
     Bouchard            Assaulting a                                    without        officer placed a hand on Bouchard’s
                        Federal Officer                                 prejudice       shoulder to move him, when Bouchard put
                                                                                        the officer in a headlock. A second officer
                                                                                        attempted to remove Bouchard’s arm from
                                                                                        the first officer and the group ended up in a
                                                                                        pile on the ground. Bouchard was arrested.
                                                                                        Bouchard admitted that he placed his right
                                                                                        arm around the neck and shoulders of the
                                                                                        officer, but stated that his intent was not to
                                                                                        hurt anyone and was just to “stand his
                                                                                        ground.”

Jeffree Cheyenne Cary   18:111(a)(1) -      Yes       3:20-cr-00329    Dismissed with   Cary used a shield to knock an officer in the
                         Assaulting a                                 prejudice (DRA)   back. Cary was then detained and arrested.
                        Federal Officer

   Jordan Matthew       18:111(a)(1) -      Yes       3:20-mj-00179     Dismissed       Johnson allegedly tried to pick up a smoke
       Johnson           Assaulting a                                    without        grenade that had been activated by law
                        Federal Officer                                 prejudice       enforcement. Officers tried to stop him with
                                                                                        rubber bullets, but eventually tackled him to
                                                                                        the ground and placed him under arrest for
                                                                                        failing to disperse. While he was being
                                                                                        arrested, Johnson allegedly struck an officer
                                                                                        in the neck, another in the head and resisted
                                                                                        arrest.

                                                                                        Johnson was subsequently interviewed and
                                                                                        denied being aware that the people he was
                                                                                        tackled by were police officers. He saw

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                                             Arrested
             Defendant       Charges                     Case Number       Disposition                     Description
                                             on Scene?

                                                                                           camouflage uniforms and denied attacking
                                                                                           anyone. Once he was handcuffed, he stopped
                                                                                           resisting.

                                                                                           Johnson has a criminal history from 2007 to
                                                                                           2013 in Oregon, which includes DUI, failure
                                                                                           to appear and probation violations.

         Joshua Webb      18:111(a)(1) -       Yes       3:20-mj-00169     Dismissed       Webb allegedly struck an officer in the face
                           Assaulting a                                     without        with a shield and then punched him in the
                          Federal Officer                                  prejudice       face with a closed fist. Webb was then
                                                                                           arrested and pulled his arms away in
                                                                                           resistance. Webb stated that he did not hear
                                                                                           any warnings given by FPS and PPB to leave
                                                                                           the area and that he was tackled and arrested
                                                                                           when he was starting to back up.

                                                                                           Webb was wearing tactical equipment
                                                                                           (tactical vest, shin guards, gloves).

       Patrick Stafford   18:111(a)(1) 4 -     Yes       3:20-cr-00295    Dismissed with   Stafford allegedly slammed into an officer
                           Assaulting a                                  prejudice (DRA)   with a shield while another protestor (Storey)
                          Federal Officer                                                  was being arrested to help him get away.
                                                                                           Once on the ground, Stafford was compliant
                                                                                           and obeyed all commands.

      Stephen O’Donnell   18:111(a)(1) -       Yes       3:20-mj-00166     Dismissed       O’Donnell was allegedly shining a flashlight
                           Assaulting a                                     without        at a CBP agent. The agent identified himself
                          Federal Officer                                  prejudice       as a “Border Patrol Agent” and told
                                                                                           O’Donnell to show him his hands.
                                                                                           O’Donnell threw something at the agent’s

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    Felony

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                                          Arrested
     Defendant             Charges                    Case Number       Disposition                      Description
                                          on Scene?

                                                                                        face. The agent wasn’t sure what the object
                                                                                        was, but said it was hard (no injuries).
                                                                                        O’Donnell was then arrested.

Taylor Charles Lemons   18:111(a)(1) -      Yes       3:20-cr-00374     Dismissed       Lemons allegedly charged at a USMS
                         Assaulting a                                    without        tactical team carrying a home-made shield.
                        Federal Officer                                 prejudice       He was repelled with a marshal’s arm, which
                                                                                        Lemons then struck with the shield. Lemons
                                                                                        violently resisted arrest (“twisting, turning,
                                                                                        and fighting”). Lemons was arrested while
                                                                                        other protestors were throwing objects at law
                                                                                        enforcement and while officers were trying
                                                                                        to secure the courthouse.

                                                                                        Lemons was arrested and searched. He was
                                                                                        carrying a Luger LCP pistol with 6 rounds
                                                                                        loaded. Lemons had a valid CCW permit.

   Thomas Johnson       18:111(a)(1) -      Yes       3:20-mj-00170     Dismissed       Johnson allegedly struck an officer in the
                         Assaulting a                                    without        face with a homemade shield. Johnson was
                        Federal Officer                                 prejudice       carrying an ASP baton, OC spray, steel-
                                                                                        plated body armor, a helmet, shin guards, gas
                                                                                        mask, goggles.

   Travis Williams      18:111(a)(1) -      Yes       3:20-cr-00331    Dismissed with   Williams was allegedly yelling: “Take your
                         Assaulting a                                 prejudice (DRA)   mask off! Let’s go.” Williams lunged
                        Federal Officer                                                 towards the neck and face of an officer and
                                                                                        another officer attempted to arrest Williams.
                                                                                        Williams violently resisted and pulled the
                                                                                        officers over a park bench, ripped off
                                                                                        “communication sets” from both officers’
                                                                                        vests and ripped part of one officer’s ballistic


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                                             Arrested
             Defendant       Charges                     Case Number       Disposition                      Description
                                             on Scene?

                                                                                           vest partially off his body. Williams was
                                                                                           tased to no effect and continued to fight.

                                                                                           Williams went limp while the officers were
                                                                                           leading him away and screamed that they
                                                                                           would need to carry him if he was going to
                                                                                           be arrested. Williams continued resisting
                                                                                           after being transported to the courthouse. He
                                                                                           tried to whip deputies with his hair and tried
                                                                                           to break a deputy’s arm with his elbow and
                                                                                           body weight. Williams said: “I almost ripped
                                                                                           your buddy’s arm off. I’m a state wrestler.”

        Jennifer Lynn     18:111(a)(1) -     Unknown     3:20-cr-00245       Count 1       A 37-year-old Portland family law attorney.
         Kristiansen       Assaulting a                                  dismissed with    She claims she was protesting with the “Wall
                          Federal Officer                                   prejudice      of Moms” when she was separated from the
                               (1)                                                         group and groped and assaulted by officers.
                                                                             Count 2
                          40:1315 and 41                                    dismissed
                            C.F.R. 102-                                      without
                          74.385 Failing                                    prejudice
                             to Obey a
                           Lawful Order
                                (2)

      Giovanni Terrence   18:111(a)(1) 5 -     Yes       3:2020cr00302    Dismissed with   A Border Patrol Agent approached
         Bondurant         Assaulting a                                  prejudice (DRA)   Bondurant who was equipped with a shield
                          Federal Officer                                                  and had been throwing rocks and bottles with
                                                                                           another protestor. The agent told the pair to
                                                                                           put down their shields. They refused and
                                                                                           tried to leave, when they were grabbed by

5
    Felony

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                                               Arrested
         Defendant              Charges                     Case Number     Disposition                    Description
                                               on Scene?

                                                                                          officers. Bondurant struck an officer trying
                                                                                          to free the other person, Yarnell.

                                                                                          Bondurant told officers that he was in the
                                                                                          park with his friend when they were
                                                                                          approached by officers. He said that they had
                                                                                          found the shields on the ground. Bondurant
                                                                                          claimed he didn’t throw anything and that he
                                                                                          had merely tried to help his friend when he
                                                                                          was being arrested. Bondurant denied
                                                                                          striking the officer and said the officers were
                                                                                          dressed in camouflage.

      Taimane Jame Teo       18:111(a)(1) -                 3:2020cr00205   Dismissed     Teo was accused of assaulting officers with a
                              Assaulting a                                   without      laser.
                             Federal Officer                                prejudice
                                                                                          Known as “Zouk” in the BLM community.
                                                                                          A GoFundMe was created for him and had
                                                                                          raised $4,050 as of July 7, 2020.

       Benjamin Wood-        18:111(a)(1) -    Unknown      3:20-cr-00209   Dismissed     No details available.
           Pavich             Assaulting a                                   without
                             Federal Officer                                prejudice

       Gabriel Huston        18:111(a)(1) -    Unknown      3:20-cr-00252   Dismissed     No details available. It looks like he’s a
                              Assaulting a                                   without      philosophy major at Portland State
                             Federal Officer                                prejudice     University. 6




6
    https://www.facebook.com/PDXCLAS/posts/3257374180953442:0

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                                                   Arrested
          Defendant                Charges                        Case Number          Disposition                      Description
                                                   on Scene?

        Pablo Avvacato         18:111(a)(1) -      Unknown        3:20-cr-00278         Dismissed      No details available. Avvacato was
                                Assaulting a                                             without       previously arrested at a reservoir protest. 7
                               Federal Officer                                          prejudice

        Douglas Dean           18:111(a)(1) -      Unknown        3:20-cr-00279         Dismissed      No details available.
                                Assaulting a                                             without
                               Federal Officer                                          prejudice

        Rebecca Mota           18:111(a)(1) -         Yes        3:2020mj00168        Dismissed with   Gonzalez stood in front of officers and
          Gonzalez              Assaulting a                                             prejudice     refused to comply with orders to disperse. As
                               Federal Officer                                                         an officer reached for Gonzalez, she struck
                                                                                                       him with a closed fist and then was
                                                                                                       handcuffed and arrested after minor
                                                                                                       resistance.

         Joshua Webb           18:111(a)(1) -         Yes        3:20-mj-00169        Dismissed with   Webb was ordered to disperse, but refused
                                Assaulting a                                             prejudice     and struck an officer in the face with a shield
                               Federal Officer                                                         and punched the officer with a closed fist
                                                                                                       when approached. Webb resisted arrest, but
                                                                                                       was eventually handcuffed. Webb stated that
                                                                                                       he did not hear any warnings to leave the
                                                                                                       area and was backing up to leave when he
                                                                                                       was tackled and arrested. Webb was wearing
                                                                                                       a black tactical vest and shin guards.

     Jerusalem A. Callan       40:1315 and 41      Unknown       3:2020cr00247          Dismissed      No details available.
                                CFR, Section                                             without
                               102-74.380(b) -                                          prejudice
                                  Willfully
                                Damaging or



7
    https://www.oregonlive.com/portland/2013/07/four_arrested_in_mount_tabor_r.html

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                                                 Arrested
          Defendant               Charges                    Case Number          Disposition                       Description
                                                 on Scene?

                                 Destroying
                                  Property

    Isaiah Jason Maza, Jr. 8   18:111(a)(1) -      Yes       3:20-CR-00343         Dismissed       Maza and a group of protestors began
                                Assaulting a                                       (Maza is        removing plywood protection on the front of
                               Federal Officer                                     deceased)       the Courthouse. Once uncovered, Maza tried
                                                                                                   to kick in the window, struck it with a metal
                                                                                                   object that appeared to be a hammer.
                                                                                                   Someone else eventually broke the window
                                                                                                   ad Maza placed a lit object into the broken
                                                                                                   window which exploded. A U.S. Marshal
                                                                                                   suffered injuries to both of his legs as a result
                                                                                                   of the blast. Maza was chased from the scene
                                                                                                   and arrested.

    Dakota Kurtis Means        18:111(a)(1) -    Unknown     3:2020cr00392        Plead guilty     Means threatened a federal contract
                                Assaulting a                                                       employee with a paintball gun outside the
                               Federal Officer                                    Sentenced to     Courthouse. 9
                                                                                time served (60
                                                                               days) with 1 year
                                                                                  of supervised
                                                                                      release

       Josslynn Kreutz         40:1315 and 41    Unknown     3:2020cr00271      Dismissed with     No details available.
                                 C.F.R. 102-                                       prejudice
                               74.385 Failing
                                  to Obey a



8
 https://www.justice.gov/usao-or/pr/portland-man-charged-assaulting-deputy-us-marshal-explosive-device-during-courthouse
9
 https://www.oregonlive.com/crime/2021/01/portland-man-who-threatened-federal-contract-worker-with-paintball-gun-sentenced-to-time-served-year-of-
supervision.html?utm_medium=social&utm_campaign=theoregonian_sf&utm_source=facebook&fbclid=IwAR25kRzHLOjWJ8Vj_SZV4ouq5qmUVDTmi1uvy
3CXlH6xygyks5Ps_y-TcYU

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                                                        Arrested
           Defendant                  Charges                           Case Number             Disposition                           Description
                                                        on Scene?

                                   Lawful Order
                                      (1) 10

         Brodie Storey             18:111(a)(1) -           Yes          3:20-cr-00330        Dismissed with        Storey attempted to tackle an officer. Storey
                                    Assaulting a                                             prejudice (DRA)        was then arrested while he continued to resist
                                   Federal Officer                                                                  and refused to comply with orders. Another
                                                                                                                    protestor assaulted the officer restraining
                                                                                                                    Storey to try and help him.

      Carly Anne Ballard           18:111(a)(1) -           Yes          3:20mj00163              Pending           Ballard was spotted near a breach in the
                                    Assaulting a                                                arraignment         fence surrounding the courthouse and was
                                   Federal Officer                                                                  ordered to move away by officers. She
                                                                                                                    refused and began to approach the officers.
                                                                                                                    She was then placed under arrest for not
                                                                                                                    complying and escorted into the courthouse
                                                                                                                    for processing. There, she allegedly yelled
                                                                                                                    profanities and kicked one of the arresting
                                                                                                                    officers in the leg.

        Andrew Steven              18:111(a)(1) -           Yes           3:20cr00203           Plead guilty,       Assaulted officers by pointing a high-
          Faulkner 11               Assaulting a                                                sentenced to        powered laser at police officers. Possessed a
                                   Federal Officer                                             three years of       sheathed machete.
                                                                                               probation and
                                                                                                    home
                                                                                               confinement.
                                                                                                Government
                                                                                                  agreed to
                                                                                                recommend
                                                                                                 probation.



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     Note: There were other failing to obey a lawful order cases, but they are not reflected here. Refer to this DOJ list of federal defendants.
11
     https://www.justice.gov/usao-or/pr/seven-arrested-facing-federal-charges-after-weekend-riots-hatfield-federal-courthouse

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                                                    Arrested
          Defendant                Charges                         Case Number          Disposition                        Description
                                                    on Scene?

       Cody Beau Porter         18:111(a)(1) -         Yes          3:20cr00211         Information       Porter shot a laser at officers. Blank tried to
                                 Assaulting a                                            dismissed        stop officers from arrested Porter. Porter was
                                Federal Officer                                                           also carrying a satchel containing 14
                                                                                                          “commercial-grade” fireworks (pictures in
                                                                                                          complaint).

 Jacob Michael Gaines 12        18:111(a)(1) -         Yes          3:20cr00223       Guilty to plea to   Gaines was observed damaging a barricaded
                                 Assaulting a                                              felony,        entrance at the Courthouse with a 4 lb
                                Federal Officer                                         government        DeWalt construction hammer. Officers
                                                                                          agreed to       moved to detain him when Gaines struck one
                                                                                      recommend low-      of the deputies with a hammer three times.
                                                                                         end of the
                                                                                         guidelines

          Lillith Grin          18:111(a)(1) -      Unknown         3:20cr00290         Information       No details available.
                                 Assaulting a                                            dismissed
                                Federal Officer




        Benjamin Bolen          18:111(a)(1) -      Unknown         3:20cr00216        Guilty plea to     No details available.
                                 Assaulting a                                          misdemeanor
                                Federal Officer                                         assault on a
                                                                                       police office,


12
     https://www.justice.gov/usao-or/pr/texas-man-charged-assaulting-deputy-us-marshal-hammer-during-weekend-protests-portland

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                                        Arrested
    Defendant           Charges                     Case Number      Disposition                       Description
                                        on Scene?

                                                                    parties jointly
                                                                    recommended
                                                                      probation

Tyler John Gabriel   18:111(a)(1) -     Unknown      3:20cr00280    Charged with      No details available.
                      Assaulting a                                  misdemeanor,
                     Federal Officer                                pending trial
                         (1-5)

 Noelle Angelina     18:111(a)(1) -     Unknown      3:20cr00282     Information      No details available.
   Mandolfo           Assaulting a                                    dismissed
                     Federal Officer                                   without
                                                                      prejudice

 Sabastian Dubar     18:111(a)(1) -     Unknown      3:20cr00289    Charged with      No details available.
                      Assaulting a                                  misdemeanor,
                     Federal Officer                                pending trial

Dakotah Ray Horton   18:111(a)(1) and      No        3:20cr00419    Plea to felony,   Horton assaulted an officer that was arrested
                     (b) - Assault on                                   per plea      striking him several times from behind. He
                        a Federal                                      agreement      was identified through photos and videos
                      Officer with a                                  government      from the events. At the time of arrest, Horton
                        Dangerous                                       agrees to     was carrying a HiPoint 9mm semi-automatic
                         Weapon,                                    recommend 24      firearm in a holster.
                       Resulting in                                      months
                      Bodily Injury
                            (1)

   Ty John Fox        18:231(a)(3) -      Yes       3:2020cr00501   Charged with      Fox used a torch lighter to ignite a large,
                      Civil Disorder                                civil disorder,   cylindrical firework, which he threw at
                                                                     pending trial    officers. An explosion and flash was
                                                                                      observed near the officers.



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